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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION



 UNITED STATES OF AMERICA,
                                              CR 10-149-BLG-SPW
                  Plaintiff,

       vs.
                                              WRIT OF CONTINUING
 SUSAN R.RAE,                                 GARNISHMENT


                 Defendant,

 MITCHELL CARE CENTER,

                 Garnishee.




GREETINGS TO:              Mitchell Care Center
                           1723 23rd St.
                           Mitchell, NE 69357

      An application for a writ ofgarnishment against the property ofSusan Rae,

defendant,(hereinafter referred to as "the judgment debtor") has been filed with this

court. A judgment for $290,414.61 was entered against the judgment debtor on or
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